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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


APPLE INC., and NEXT SOFTWARE,
INC. (f/k/a NeXT COMPUTER, INC.),

                      Plaintiffs and
                      Counterclaim-Defendants,
                                                        Case No. 11-CV-08540
v.
                                                        Judge Richard A. Posner
MOTOROLA, INC. and MOTOROLA
MOBILITY, INC.,

                      Defendants and
                      Counterclaim-Plaintiffs.


           APPLE’S MOTION IN LIMINE NO. 3 TO EXCLUDE CERTAIN
       DOCUMENTS NOT DISCLOSED IN MOTOROLA’S NOTICE OF PRIOR ART
                    (APPLIES TO APPLE PATENTS TRIAL)

         Pursuant to the Federal Rules of Civil Procedure and the Federal Rules of Evidence,

Plaintiffs Apple Inc. and Next Software, Inc. (“Apple”) hereby respectfully move in limine to

exclude from evidence and preclude testimony and argument on certain documents on

Motorola’s exhibit list that may be used as prior art, but that Motorola did not disclose in its

notice of prior art filed with the Court on April 30, 2012 (Dkt. No. 817) pursuant to the Court’s

February 21, 2012 Order (Dkt. No. 591). Motorola’s invalidity arguments should be limited to

the documents in its April 30 notice of prior art as Ordered by the Court—putting each party on

notice of the prior art at issue is why such narrowed disclosures were required. Anything else

would not only violate the Court’s Order, but confuse the jury, waste time at trial, and prejudice

Apple, all contrary to the Federal Rules.1


1
 Apple believes that none of the exhibits addressed in this Motion are admissible. While mindful of the
Court’s May 14, 2012 Order regarding its intention to only rule pre-trial on objections to exhibits to be
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         Specifically, Apple moves to exclude from evidence and preclude testimony and

argument on:

      1. Three documents relating to the VCOS prior art reference Motorola asserts against
         Apple’s 263 patent, but that are not in Motorola’s notice of prior art and are not relied on
         by Motorola or its expert in their invalidity contentions (MX-0027, MX-0029, MX-
         0030);

      2. One patent Motorola previously asserted as prior art against Apple’s 263 patent, but
         thereafter dropped and did not include in its notice of prior art (MX-0014);

      3. Three documents that Motorola apparently intends to use with respect to the validity of
         Apple’s 949 patent that are not in Motorola’s notice of prior art and are not relied on by
         Motorola or its expert in their invalidity contentions (MX-0083, MX-0084, MX-0086);

      4. One patent Motorola previously asserted as prior art against Apple’s 647 patent only
         under Apple’s proposed constructions, which the Court rejected, and which Motorola did
         not include in its notice of prior art (MX-0065);

      5. Two voluminous documents relating to the Perspective prior art system Motorola asserts
         against Apple’s 647 patent that are not specifically identified in Motorola’s notice of
         prior art and are not relied on by Motorola or its expert in their invalidity contentions
         (MX-0062, MX-0069); and

      6. Four documents Motorola’s expert previously relied on to support his obviousness
         arguments against Apple’s 002 patent, but that Motorola thereafter dropped and did not
         include in its notice of prior art (MX-0001, MX-0003, MX-0004, MX-0008).


I.       APPLE’S 263 PATENT

         A.      The New VCOS Documents Should Be Excluded

         Motorola contends that a document called “VCOS Software Developer’s Kit Version 1.1

(July 1993)” (hereinafter, “VCOS SDK”) anticipates asserted claims 1 and 2 of Apple’s 263

patent. (See Motorola’s Notice of Prior Art References for Trial Pursuant to The Court’s

February 21, 2012 Order, Dkt. No. 817, “Notice of Prior Art,” at 1.) The VCOS SDK document

relates to a computer system the parties refer to as VCOS. Motorola does not contend that any


included in the jury binders, given today’s deadline for filing motions in limine, Apple files this Motion to
preserve its rights in light of the Court’s April 15, 2012 Order (Dkt. No. 769) that exhibits not objected to
in limine may not be objected to at trial.
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other document relating to VCOS invalidates the asserted claims of the 263 patent—only the one

specific VCOS SDK document disclosed in its notice of prior art. (See id.) Motorola’s expert

Dr. Clark admitted at his deposition that the VCOS SDK is the only document related to VCOS

that he relies on for his invalidity opinions. (Exh. A, Clark 4/23/12 Dep. at 51:8-14: “Q. And in

terms of the bases for your opinions on anticipation and obviousness in your expert report, you

haven’t cited to any other documents that discuss VCOS beyond this software developer’s kit,

Exhibit 7, correct? A. That’s correct.”.)2

        Nevertheless, Motorola now attempts to introduce (as trial exhibits) three additional

documents relating to VCOS: a 74-page presentation relating to the VCOS system (MX-0027), a

product note relating to the VCOS system (MX-0029), and a 152-page overview document

describing the VCOS system (MX-0030).             Motorola did not disclose any of these three

documents in its notice of prior art filed pursuant to Court Order, and Motorola’s expert Dr.

Clark did not rely on or cite to any of these three documents in forming his invalidity opinions.

The Court should therefore exclude these three documents because Motorola’s attempt to include

them violates the Court’s February 21, 2012 Order.

        Apple can only guess as to Motorola’s intentions in including these three documents on

its exhibit list. It is possible Motorola intends to use the documents to plug holes in its invalidity

case, or to provide background on the VCOS computer system itself. In any event, the three new

VCOS documents, and the content therein, have no bearing on the validity of the 263 patent,

because Motorola did not disclose them in its notice of prior art and Dr. Clark never relied on

them in reaching his invalidity opinions.         Therefore the Court should also exclude these

documents because they are irrelevant under Federal Rule of Evidence 402.

2
 See also Second Supplemental Expert Report of Douglas W. Clark Regarding the Validity of U.S.
Patent No. 6,343,263, at ¶ 99 (excerpt attached as Exh. B).
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        Even if relevant, the documents should be excluded under Federal Rule of Evidence 403,

which states that “[t]he court may exclude relevant evidence if its probative value is substantially

outweighed by a danger of one or more of the following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

(Fed. R. Evid. 403.) Here, the three documents at issue have no probative value—they cannot be

used to invalidate the 263 patent because Motorola did not include them in its Notice of Prior Art

and Dr. Clark did not rely on them. In addition, the three new documents would needlessly

confuse and potentially mislead the jury as to which VCOS document Motorola actually asserts

as its VCOS prior art. Further, any testimony on the three documents would cause undue delay

and waste time, again because none of the three has any bearing on validity. Finally, allowing

these three new documents into evidence would unduly prejudice Apple—Motorola never put

Apple on notice that Motorola may somehow rely on three new VCOS documents in its

invalidity case.3

        For the foregoing reasons, Apple respectfully requests that the Court exclude Motorola

exhibits MX-0027, MX-0029, and MX-0030 from trial, preclude Motorola from presenting any

arguments relating to those three documents, and preclude Motorola from eliciting testimony

relating to those three documents.

        B.     The Anderson Reference Should Be Excluded

        Motorola and its expert initially asserted that U.S. Pat. No. 5,384,890 (“Anderson

reference”) anticipated claims 1 and 2 of Apple’s 263 patent. However, Motorola then dropped

3
  Apple also objects to MX-0027, MX-0029, and MX-0030 under FRE 802 as improper hearsay to the
extent Motorola is attempting to prove the truth of anything asserted therein. (See Apple’s Motion in
Limine No. 9 for more detail.) Apple additionally objects under FRE 901 because no witness has testified
as to these documents and Motorola has not proffered any other evidence that the documents are what
they appear to be. (See id.) Apple objects for lack of foundation for the same reasons. Finally, Apple
objects to these three documents under FRE 602 to the extent Motorola attempts to introduce the
documents through a witness with no personal knowledge of the documents.
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the Anderson reference from its invalidity contentions—Motorola did not disclose the Anderson

reference in its notice of prior art filed with the Court. (See Motorola’s Notice of Prior Art at 1.)

Nevertheless, Motorola included the Anderson reference on its trial exhibit list (MX-0014). The

Court should exclude the Anderson reference from trial because Motorola’s attempt to include it

violates the Court’s February 21, 2012 Order.

       The Court should also exclude the Anderson reference because it became irrelevant under

FRE 402 when Motorola dropped it from its invalidity contentions. And even if found relevant,

the Anderson reference should be excluded under FRE 403. The Anderson reference has no

probative value—it cannot be used to invalidate the 263 patent because Motorola failed to

include it in its Notice of Prior Art. In addition, the Anderson reference would needlessly

confuse and potentially mislead the jury as to which documents Motorola actually asserts as prior

art. Further, any testimony on the Anderson reference would cause undue delay and waste time,

again because it has no bearing on validity. Finally, allowing the Anderson reference into

evidence would unduly prejudice Apple—when Motorola dropped this prior art reference, Apple

proceeded to prepare for trial under the assumption that Motorola would no longer use the

Anderson reference in its invalidity case.

       For the foregoing reasons, Apple respectfully requests that the Court exclude Motorola

exhibit MX-0014 from trial, preclude Motorola from presenting any arguments relating to that

document, and preclude Motorola from eliciting testimony relating to that document.


II.    APPLE’S 949 PATENT

       The Court should also exclude three documents listed on Motorola’s exhibit list relating

to Apple’s 949 patent that Motorola did not disclose in its notice of prior art filed with the Court,

and that Motorola and its expert Mr. Dezmelyk have not cited in their invalidity claim charts.
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Those documents are (1) Portfolio Wall, PDAs and the Society of Devices.mp4,

MOTO‐APPLE‐0007162828            (MX-0083),      PortfolioWall    by     AliasWavefront     (now

AutodeskAlias) #1.mp4, MOTO‐APPLE‐0007162829 (MX-0084), and Buxton ‐ A Personal

Perspective on the History, MOTO‐APPLE‐0007162848 (MX0086).

       It is unclear to Apple exactly how Motorola intends to use these three documents, but it is

clear that they were not included in Motorola’s April 30 notice of prior art. The Court should

therefore exclude these documents because Motorola’s attempt to include them violates the

Court’s February 21, 2012 Order.

       The Court should also exclude the documents as irrelevant under Federal Rule of

Evidence 402—they have no bearing on the validity of the 949 patent because they were not

included in Motorola’s Notice of Prior Art, and Motorola’s expert did not cite to them in his

invalidity claim charts. Even if relevant, the documents should be excluded under Federal Rule

of Evidence 403. The three documents at issue have no probative value because, as discussed,

they cannot be used to invalidate the 949 patent. In addition, the three new documents would

confuse and potentially mislead the jury as to which references Motorola asserts are invalidating.

Also, two of the documents, MX-0083 and MX-0084, are videos, and Motorola likely wants to

show them to the jury because they are in video format and may be more compelling to a jury

than paper documents such as patents. But these particular video demonstrations have no

probative value on the issue of validity, for the reasons stated above, and therefore permitting

Motorola to use them with the jury will be prejudicial to Apple. Further, any testimony on the

three documents would cause undue delay and waste time at trial, again because none of the

three can have any bearing on validity.




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        For the foregoing reasons, Apple respectfully requests that the Court exclude Motorola

exhibits MX-0083, MX-0084, and MX-0086 from trial, preclude Motorola from presenting any

arguments relating to those three documents, and preclude Motorola from eliciting testimony

relating to those three documents.4


III.    APPLE’S 647 PATENT

        A.      The Gomez Reference Should Be Excluded

        Motorola and its expert previously asserted that U.S. Pat. No. 5,359,317 (“Gomez

reference”) invalidated asserted claims 1 and 8 of Apple’s 647 patent under Apple’s claim

construction of the term “analyzer server,” but not under Motorola’s claim construction. The

Court, however, adopted Motorola’s claim construction. Motorola’s expert Dr. Clark never

offered a Gomez invalidity opinion under the Court’s construction for “analyzer server,” and

confirmed at his deposition that he would not offer any opinions regarding the Gomez reference

at trial. (Exh. C, Clark 4/20/12 Dep. at 70:21-71:2: “Q. It is correct, isn’t it, that you have not

provided an opinion that the Gomez patent discloses each and every limitation of claims 1 and 8

under the Court’s two constructions? A. That is correct.”; 73:21-74:8: “Q. Given that you have

not provided opinions that Mosaic, Lynx, Gomez and the Sidekick handbook invalidate claims 1

and 8 of the 647 patent under the Court’s constructions, it is true, isn’t it, that you will not be

offering testimony about them at trial? … A. I don’t -- I believe that’s the case.”) Given that its

expert thus never opined that Gomez anticipates each and every limitation of the 647 patent,

Motorola did not disclose the Gomez reference in its notice of prior art filed with the Court. (See

4
  Also as to the 949 patent, Apple objects to Motorola exhibit MX00073, a translation of Japanese Patent
Application Disclosure No. 2000-163031, as being an unofficial translation. For example, in the
translation, MX00073, there are annotations included to numerous Figures, such as Figures 3, 5, 7, 8, 9,
14, and 15, that are absent in the Japanese version of this application. Accordingly, Apple objects to this
exhibit and requests that Motorola provide a certified translation if it intends to rely upon this application
as prior art.
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Motorola’s Notice of Prior Art at 1.)

       Nevertheless, Motorola seeks to resurrect the Gomez reference by including it on its trial

exhibit list as MX-0065. The Court should exclude the Gomez reference from trial because

Motorola’s attempt to include it violates the Court’s February 21, 2012 Order.

       The Court should also exclude the Gomez reference under FRE 401/402—it is now

irrelevant because Motorola has not disclosed expert opinion that Gomez invalidates under the

Court’s constructions, and therefore cannot prove at trial by clear and convincing evidence that

Gomez invalidates the asserted claims. And even if found relevant, the Gomez reference should

be excluded under FRE 403. The Gomez reference has no probative value—it cannot be used to

invalidate the 647 patent because Motorola did not include it in its Notice of Prior Art, and

Motorola’s expert has not offered any Gomez opinion under the Court’s constructions. The

Gomez reference would needlessly confuse and potentially mislead the jury as to which

documents Motorola actually asserts as prior art. The Gomez reference is a patent, and the Court

has expressed its belief that the jury is unable to review patents. Further, any testimony on the

Gomez reference would cause undue delay and waste time, again because it has no bearing on

validity for the reasons stated above. Finally, allowing the Gomez reference into evidence would

unduly prejudice Apple—Motorola has never disclosed an opinion or any other evidence that

Gomez invalidates each and every element of the asserted claims, and Apple has been

conducting its case since Dr. Clark’s original report in September 2011 under that assumption.

       For the foregoing reasons, Apple respectfully requests that the Court exclude Motorola

exhibit MX-0065 from trial, preclude Motorola from presenting any arguments relating to that

document, and preclude Motorola from eliciting testimony relating to that document.




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       B.      The New Perspective Materials Should Be Excluded

       Motorola contends that the Perspective computer system (specifically, certain source

code, three documents describing its features, and two physical devices running the Perspective

application) anticipates asserted claims 1 and 8 of Apple’s 647 patent. (See Motorola’s Notice of

Prior Art at 1.) Motorola did not specifically identify any other documents or materials relating

to Perspective in its notice of prior art filed with the Court. (See id.) Nonetheless, Motorola then

identified 20 additional documents on its Direct Exhibit List that also relate to the Perspective

system. Apple is, however, raising its objections with only two of those exhibits here: MX-0062

and MX-0069.

       MX-0062 is identified as a document titled “Getting Started With Your EO Personal

Communicator,” although Motorola served Apple a copy of a document titled “The World of

Messaging,” the same document that is MX-0069 (discussed below). The Getting Started by EO

Corporation is an 88-page third-party publication regarding the EO Personal Communicator that

could run the Perspective application. MX-0069 is a similar 80-page third-party publication

titled “The World of Messaging” by EO Corporation. Neither Motorola nor Dr. Clark has ever

relied upon either document in their invalidity contentions.         Motorola has disclosed two

Perspective fact witnesses for trial, Diana Cohen and Michael Schaffer, but neither is an author,

and neither has any knowledge of these documents. In fact, in reference to Getting Started, Ms.

Cohen testified: “Q. When was the last time you reviewed “Getting Started,” Exhibit 6? A. I

actually don’t know if I’ve ever seen it, you know, looked through it. I know that it existed. I’ve

seen a copy of this cover at some point. It must be -- we have an EO, and I don’t know if this

“Getting Started” was with it or not. I don’t remember.” (Exh. D, Cohen Dep. at 150:15-21.)

Similarly, about the World of Messaging, Ms. Cohen stated: “I don’t know if I’ve seen this one

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either. It doesn’t look necessarily familiar. I don’t know.” (Id. at 154:16-25.) Mr. Schaffer

testified that he does not remember a publication called “The World of Messaging, An

Introduction to Personal Communicators,” and he did not author any user documentation during

his brief employment at the EO Corporation. (Exh. E, Schaffer Dep. at 42:3-6; 41:14-18.)

       Those two documents were not in Motorola’s notice of prior art. Moreover, neither

Motorola nor its expert Dr. Clark ever relied on or cited to either of the documents in their

invalidity contentions. The Court should exclude both documents because Motorola’s attempt to

introduce them as exhibits violates the Court’s February 21, 2012 Order.

       The Court should also exclude both documents pursuant to FRE 401/402 and 403.

Motorola appears to intend to use them as prior art to fill gaps in its case regarding the

Perspective system, but they were never identified as relevant, and were not listed in Motorola’s

notice of prior art, invalidity contentions, or expert reports. No Motorola witness that will testify

about Perspective has authored or reviewed the documents.

       And even if relevant, the documents should be excluded under FRE 403. The documents

have no probative value—they cannot be used to invalidate the 647 patent because Motorola

failed to include them in its Notice of Prior Art, and Dr. Clark never relied on them in forming

his invalidity opinions. In addition, Motorola’s three other Perspective-related exhibits total

nearly 1200 pages. Giving the jury voluminous additional documents that no witness can testify

about would needlessly confuse the jury. Further, any testimony on the new documents would

cause undue delay and waste time, again because none have any bearing on validity for the

reasons discussed above. Finally, allowing these new documents into evidence would unduly

prejudice Apple—Motorola never put Apple on notice that Motorola may somehow rely on these

new Perspective materials in its invalidity case.

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       For the foregoing reasons, Apple respectfully requests that the Court exclude Motorola

exhibits MX-0062 and MX-0069 from trial, preclude Motorola from presenting any arguments

relating to those documents, and preclude Motorola from eliciting testimony relating to those

documents.


IV.    APPLE’S 002 PATENT

       The Court should also exclude four documents Motorola’s expert previously relied on to

support his obviousness arguments against Apple’s 002 patent, but that Motorola thereafter

dropped and did not include in its notice of prior art. Those documents are MX-0001, MX-0003,

MX-0004, and MX-0008. Motorola improperly attempts to include those documents as trial

exhibits in violation of the Court’s February 21, 2012 Order.

       Therefore Apple respectfully requests that the Court exclude Motorola exhibits MX-

0001, MX-0003, MX-0004, and MX-0008 from trial, preclude Motorola from presenting any

arguments relating to those documents, and preclude Motorola from eliciting testimony relating

to those documents.



Dated: May 15, 2012                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 15, 2012, at 5:00 p.m. CST, I caused the foregoing document

to be electronically filed with the Clerk of Court using the ECF system, which will make this

document available to all counsel of record for viewing and downloading from the ECF system.


                                      /s/ Brian E. Ferguson
                                     Brian E. Ferguson
